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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                    §
                                                          §                  Case No. 18-32106
ERIN ENERGY CORPORATION,                                  §
                                                          §                   Chapter 11
           Debtor.                                        §
                                                          §
                                                          §
In re:                                                    §
                                                          §                   Case No. 18-32107
ERIN ENERGY LIMITED,                                      §
                                                          §                   Chapter 11
           Debtor.                                        §
                                                          §
                                                          §
In re:                                                    §
                                                          §                  Case No. 18-32108
ERIN ENERGY KENYA LIMITED,                                §
                                                          §                   Chapter 11
           Debtor.                                        §
                                                          §
                                                          §
In re:                                                    §
                                                          §                   Case No. 18-32109
ERIN PETROLEUM NIGERIA                                    §
LIMITED,                                                  §
                                                          §                   Chapter 11
      Debtor.                                             §
_________________________________                         §          ___________________________________
                                                          §          Joint Administration Pending

          ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
                       AND GRANTING RELATED RELIEF

           Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and
1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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this court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order; and this court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing,

if any, before this court (the “Hearing”); and this court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy

Local Rules are satisfied by such notice.

       2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this court under Case No. 18-32106.

       3.      Additionally, the caption of the jointly administered cases should read as follows:




                                                  2
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                §
                                                      §
ERIN ENERGY CORPORATION, et al.,¹                     §                  Case No. 18-32106
                                                      §
         Debtors.                                     §                  (Chapter 11)
                                                      §
                                                      §                 (Jointly Administered)

_____________________
1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.



         4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

         5.      A docket entry, substantially similar to the following, shall be entered on the

dockets of each of the Debtors other than Erin Energy Corporation:

         An order has been entered in accordance with Rule 1015(b) of the Federal Rules
         of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of Bankruptcy
         Practice and Procedure of the United States Bankruptcy Court for the Southern
         District of Texas directing joint administration of the chapter 11 cases of: Erin
         Energy Corporation, Case No. 18-32106; Erin Petroleum Nigeria Limited, Case
         No. 18-32109; Erin Energy Kenya Limited, Case No. 18-32108; and Erin Energy
         Limited, Case No. 18-32107. All further pleadings and other papers shall be
         filed in, and all further docket entries shall be made in Case No. 18-32106.

         6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

         7.      Any party in interest may request joint hearings on matters pending in any of

these chapter 11 cases.



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       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       11.     This court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: __________, 2018

                                              ____________________________________
                                              HONORABLE MARVIN ISGUR
                                              UNITED STATES BANKRUPTCY JUDGE




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